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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA, E Crum, Neo. 18-757 (BRM)
Plaintiff,
Vv.
STEVEN BRADLEY MELL,

Defendant.

 

MOTION FOR COMPASSIONATE RELEASE
DUE TO DANGER FROM THE CORONAVIRUS

 

COMES NOW the Defendant herein, STEVEN BRADLEY MELL, by and
through the undersigned counsel, and moves this Honorable Court
to order to grant his Motion for Compassionate Release pursuant
to 18 U.S.C. §$3582(c) due to the substantial risk to himself and
the community from the current COVID-19 pandemic. In support of
the motion, Mr. Mell states the following.

Pursuant to 18 U.S.C. §3582(c) (1) (A) (I),

The court may not modify a term of imprisonment once
it has been imposed except that—

(1) in any case—

(A) the court, upon motion of the Director of the
Bureau of Prisons, or upon motion of the defendant
after the defendant has fully exhausted all
administrative rights to appeal a failure of the
Bureau of Prisons to bring a motion on the
defendant’s behalf or the lapse of 30 days from the
receipt of such a request by the warden of the
defendant’s facility, whichever is earlier, may
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reduce the term of imprisonment (and may impose a
term of probation or supervised release with or
without conditions that does not exceed the unserved
portion of the original term of imprisonment), after
considering the factors set forth in section 3553(a)
[18 USCS §3553(a)] to the extent that they are
applicable, if it finds that—

(I) extraordinary and compelling reasons warrant
such a reduction.

REQUESTS FOR RELEASE

Mr. Mell has pursued compassionate release within the

Bureau of Prisons as follows and recorded in Exhibit A:

Filing on April 6, 2020 by letter to Warden White at FCI
Allenwood-Low, from Mr. Mell’ brother on defendant's
behalf, requesting release. The request was denied on April
30, 2020. (see Exhibit A-1)

Defendant Mell filed a second request to the Warden on
April 7, 2020, seeking reconsideration for any and all
possible options with supplemental submission to the Warden
on June 5, 2020. This request was denied on June 5,

2020; (see Exhibit A-2)

Defendant Mell was deemed inappropriate for release on
both requests, we understand, because he is incarcerated on
a sex offense, which presumptively makes him ineligible for
release;

Defendant Mell filed for release to the Bureau of Prisons,
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Regional Office on May 1, 2020. He has received no response

to date;
e Despite having gotten no response, defendant Mell Filed for

reconsideration with the Bureau of Prisons, Regional Office

on June 6, 2020;

Mell believes he has exhausted his administrative remedies.
However, even in the absence of exhaustion of administrative
remedies, Mr. Mell submits that the current coronavirus
Situation has created a situation whereby the requirement to
exhaust administrative remedies has been waived by various
courts, so that inmates can be released from custody or have
their custody modified to protect their well-being. In United
States v. Sawicz, 2020 U.S. Dist. LEXIS 64418 (E.D.N.Y. Apr. 10,
2020), the court found that “[t]he COVID-19 outbreak at FCI
Danbury, combined with the fact that the defendant is at risk of
suffering severe complications if he were to contract COVID-19
because of his hypertension, justifies waiver here [of the
exhaustion/waiting period....] I agree with the defendant that
the risk of serious illness or death that he faces in prison
constitutes an extraordinary and compelling reason militating in
favor of his release.” In United States v. Almonte, 2020 U.S.

Dist. LEXIS 62524 (D. Conn. Apr. 9, 2020), the court found as

follows:
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[A] combination of factors convinces me that there
are extraordinary and compelling reasons to reduce
Almonte’s sentence. Almonte’s medical condition may
alone amount to an extraordinary and compelling
reason to do so because his cervical myelopathy is a
serious physical condition that will soon leave
Almonte unable to care for himself in prison. If
Almonte does not get the surgery he needs, he will
not recover from his condition. If he remains in
BOP’s custody, Almonte will not get the surgery
quickly enough. The surgery has already slipped
through the cracks for a year and a half, and there
is little chance for any improvement, given the rise
of COVID-19 and concomitant logistical
complications. Further, Almonte’s rehabilitation
from his former life of crime has been total, and he
has a supportive network of family ready to help him
reintegrate into society. mu

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Similarly, in Miller v. United States, 2020 U.S. Dist.
LEXIS 62421 (E.D. Mich. Apr. 9, 2020), the court waived the
exhaustion/waiting period under §3582(c) (1) as defendants with
underlying medical conditions who have a higher risk of falling
severely ill from COVID-19 should be granted compassionate

release in order to avoid a “lethal decision.” See also, United

states v. Gentille, 2020 U.S. Dist. LEXIS 62680 (S.D.N.Y. Apr.

 

By, 2020) «

Recently, Scott Schaefer was granted compassionate release

from Allenwood Low due to COVID-19

DEFENDANT MELL’S MEDICAL CONDITIONS

Mell suffers from several medical conditions:

e A liver disease called Primary Sclerosing Cholangitis
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(PSC), a progressive, non-curable and ultimately fatal
disease which causes diminishing of the bile ducts from the
liver. While ultimately fatal, this disease is treatable.
He has been treated successfully for many years by the Mayo
Clinic and Mt. Sinai for 21 years, most recently with
Ursodiol. PSC makes Mell more than typically vulnerable to
the effects of COVID-19. It should be noted that medical
staff at Allenwood refused to prescribe Ursodiol for Mell
since his arrival;

e Mell also suffers from Crohn’s Disease (an immunodeficiency
disorder), hypertension, high cholesterol and asthmatic
bronchitis. Indeed, breathing related difficulties are the
hallmark of COVID-19 and the proximate cause of most deaths
due to the virus. More than one of these medical conditions
could adversely affect his survivability from COVID-19;

e As a result of his conditions, Mell submits that he is at
higher risk of suffering severe illness should he contract
the coronavirus. This state of affairs necessitates
compassionate release;

e Mell’s medical records are attached; (see Exhibit B)

CONDITIONS AT ALLENWOOD LOW

The housing conditions at Allenwood Low, where Mell is

incarcerated, are understandably casual. However during this
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pandemic the conditions become riskier than a normal
institution. Mell shares an 8 foot by 10 foot cube with two
other men. The person sleeping on the top bunk is 8 inches away
from the person sleeping in the top bunk in the next cube. There
are 360 men housed, with Mell, in dormitory style conditions
(known as the Greg Dormitory) with no separation, no social
distancing opportunities and little opportunity to effectuate
hand-washing as is recommended. There are four (4) toilets, four
(four) sinks and six (6) showers for 360 men. These 360 men roam
about in the dormitory at will all day. Mell submits that the
health risk to himself and the community is dramatically
heightened in this pandemic given these conditions at Allenwood
Low.

Mell advises that there has been no testing for the virus,
so Bureau cf Prisons claim of no infection is no more than an
optimistic spin of the intentional ignorance. The Bureau of
Prisons claimed that there was no COVID-19 infection in the
Allenwood Low, Medium or USP Allenwood. This was disproved
during discovery related to a civil suit: at least one person
had died at the medium and the UPS. In addition, Bureau of
Prisons staff is regularly rotated between the various

facilities at Allenwood, allowing ready spread of infection.
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FACTS THAT SUPPORT A CONCLUSION OF LOW RISK IF RELEASED

Mell suggests there are a number of facts related to his

case and his history which the Court could consider.

Mell has served one year of his 60 month sentence;

He has had no infractions while incarcerated;

During Mell’s pre-trial release of 14 months, he was within
2 miles of the victim in his case. There was never any
contact by Mell to the victim nor were there any problems
with his behavior or compliance with PTS requirements (once
Mell impermissibly stopped at a CVS on his way home from
meeting with his attorney);

In preparation for a bail hearing in 2018, in the criminal
matter, Mell was evaluated at the Adult Diagnostic and
Treatment Center (Avenel). The Avenel report stated that
Mell posed zero risk of recidivism; (The defense has
requested but not yet received a copy of this document.
Once it is received it will be forwarded to the Court)

A Risk Assessment done by the Bureau of Prisons, found that
Mell presents a minimal risk of re-offense. (The defense
has requested but not yet received a copy of this document.
Once it is received it will be forwarded to the Court);
Mell is incarcerated at Allenwood Low; evidence that he
presents little risk to the community;

Mell is employed at Allenwood in the Facilities Department,
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on 24-hour call-out. This means that he is allowed access
to tools, further indicating that he is deemed to be a low
risk inmate;

e Mell works as an instructor in the ACE program at Allenwood
Low, teaching inmates financial literacy. This program
qualifies as Inmate Programing under the Care Act;

e Further, Mell has repeatedly expressed his remorse at his
ettense;

e Mell has no prior offenses, sexual or otherwise;

e If released, Mell would reside at the home of a friend in
Bedminster, New Jersey. This home was approved by Pre-trial
Services and where he lived for the 14 months he was on
pre-trial release and where he had no problems;

e If released, Mell would obtain employment as an analyst

with an investment firm owned by a friend;

CONCLUSION

Mell submits that above information identifies
extraordinary and compelling reasons justify his release due to
the coronavirus pandemic. He submits that he is at risk of
contracting COVID-19 should he remain incarcerated, which could
result in a debilitating illness. As of this writing, the spread
of COVID-19 is again on the rise in many places: places that

replicate the lack of social distancing found in jails and
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prisons.

WHEREFORE, in consideration of the foregoing, Mr. Steven
Mell respectfully prays that this Court issue an Order granting

compassionate release.

Respectfully submitted,

Pica Cotes

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